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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     ATHENS DIVISION

JOSHUA WOODEY,                                       :
                                                     :
                          Movant,                    :
                                                     :
                 v.                                  :        Case No. 3:19-cr-00001-CAR-CHW
                                                     :
UNITED STATES OF AMERICA,                            :
                                                     :
                          Respondent.                :
                                                     :

                                                    ORDER

        Movant Joshua Woodey has filed a request “to compel former counsel to tender [his]

criminal case file.” (Doc. 137). Movant intends to seek post-conviction relief once obtaining this

case file. (Id.). Currently, Movant has no motion for post-conviction relief before the Court.

        Pursuant to “[t]he long-standing rule that a defendant may not file a pre-§ 2255 request for

discovery,” there is no legal basis for the court to compel discovery, including client files, from

Defendant’s counsel. United States v. Cuya, 964 F.3d 969, 972 (11th Cir. 2020). The discovery

provisions of Rule 6 of the Rules Governing Section 2255 Proceedings for the United States

District Courts do not authorize a federal prisoner to engage in a “fishing expedition.” Id., at 974.

Possession of a former attorney’s case file is not a prerequisite to filing a Section 2255 motion or

any other type of motion for post-conviction relief. See United States v. Hernandez, 431 Fed.

App’x. 813, 813 (11th Cir. 2011) (finding that the district court properly denied “a federal

prisoner’s transcript request where the appellant had no appeal pending and had not moved to

vacate his sentence under § 2255.”); Walker v. United States, 424 F.2d 278, 279 (5th Cir. 1970)1



1
 Fifth Circuit decisions “handed down by that court prior to the close of business on [September 30, 1981], shall be
binding as precedent in the Eleventh Circuit[.]” Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1207 (11th Cir.
1981).
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(concluding that “only where a [habeas] petitioner . . . has been granted leave to proceed in forma

pauperis and his application is pending before the court is that petitioner entitled to be furnished

copies of court records without costs.”). Therefore, Movant’s motion to compel is DENIED.

       SO ORDERED, this 22nd day of October, 2020.


                                              s/ Charles H. Weigle
                                              Charles H. Weigle
                                              United States Magistrate Judge




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